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                                                                           United States District Court
                                                                             Southern District of Texas

                                                                                ENTERED
                                                                                May 25, 2018
                        UNITED STATES DISTRICT COURT
                                                                             David J. Bradley, Clerk
                         SOUTHERN DISTRICT OF TEXAS
                            GALVESTON DIVISION

TEXAS DEPARTMENT OF CRIMINAL §
JUSTICE,                      §
                              §
       Plaintiff,             §
VS.                           § CIVIL ACTION NO. 3:17-CV-1
                              §
FOOD AND DRUG ADMINISTRATION, §
et al,                        §
                              §
       Defendants.            §

                                        ORDER

       The Court scheduled a status conference in this case for May 29, 2018 (Dkt. 56).

The defendants have filed an unopposed motion to reschedule that conference. The

defendants’ motion (Dkt. 57) is GRANTED. The status conference will take place on

June 18, 2018 at 1:30 p.m. At that conference, the Court will hear argument on the

plaintiff’s motions to lift the stay in this case and to set a briefing schedule for the

parties’ cross-motions for summary judgment (Dkt. 53). The parties should also be

prepared to discuss any other issues pending before the Court.

       The parties must appear in person. The defendants’ unopposed request to seal

the status conference is taken under advisement.

       It is so ORDERED.

       SIGNED at Galveston, Texas, this 25th day of May, 2018.


                                            ___________________________________
                                            George C. Hanks Jr.
                                            United States District Judge


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